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 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, VICTORIANO PACHECO
 5
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,   )               CASE NO. 1:11-CR-00376 DLB
                                 )
11         Plaintiff,            )               AMENDED
                                 )               STIPULATION AND
12       v.                      )               ORDER TO CONTINUE
                                 )               STATUS CONFERENCE
13   VICTORIANO PACHECO,         )
                                 )
14          Defendant.           )
     ____________________________)
15
           The parties hereto, by and through their respective attorneys, stipulate and
16
     agree that the status conference calendared for October 22, 2012, be continued
17
     to November 13, 2012 at 1:00 p.m.
18
           The continuance is necessary as several of the defendants, including Mr.
19
     Bazante-Pacheco, submitted handwriting exemplars. Analysis of the samples will
20
     not be completed for another two to three weeks. Also, Mr. Shrayberman is
21
     unavailable due to the fact that he is presently involved in a jury trial which is
22
     anticipated to last into early December. The remaining defendants are in
23
     settlement discussions with the government.
24
           The parties also agree that any delay resulting from this continuance shall
25
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
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     3161(h)(8)(A) and 3161(h)(8)(B)(I).
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 1   DATED: October 18, 2012              /s/ Kimberly Sanchez
                                          Assistant United States Attorney
 2                                        This was agreed to by Ms. Sanchez
                                          via email on October 17, 2012
 3
 4   DATED: October 18, 2012              /s/ Yan Shrayberman
                                          YAN SHRAYBERMAN
 5                                        Attorney for Defendant
                                          ERNESTO SALGADO-GUZMAN
 6                                        This was agreed to by Mr. Shrayberman
                                          via email on October 17, 2012
 7
 8   DATED: October 18, 2012              /s/ Mark Coleman    __
                                          MARK COLEMAN
 9                                        Attorney for Defendant
                                          DEMETRIO CORTEZ-SALGADO
10                                        This was agreed to by Mr. Coleman
                                          via email on October 17, 2012
11
12   DATED: October 18, 2012              /s/Roger Bonakdar __
                                          ROGER BONAKDAR
13                                        Attorney for Defendant
                                          ZEFERINA SALGADO GUZMAN DE CORTEZ
14                                        This was agreed to by Mr. Bonakdar
                                          via email on October 17, 2012
15
16   DATED: October 18, 2012              /s/ Hadi Ty Kharazi __
                                          HADI TY KHARAZI
17                                        Attorney for Defendant
                                          FLORENCIO MORALES-SOLANO
18                                        This was agreed to by Kharazi
                                          via email on October 17, 2012
19
20   DATED: October 18, 2012              /s/ Roger K. Litman __
                                          ROGER K. LITMAN
21                                        Attorney for Defendant
                                          VICTORIANO PACHECO
22
23            IT IS SO ORDERED.
24            Dated:   October 22, 2012               /s/ Dennis L. Beck
     3b142a                                   UNITED STATES MAGISTRATE JUDGE
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27
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